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                of initiating the civil docket sheet. (sliti tN,\IRU(1                        toNS       oN Ntixt t'A(iti ot; l   Hts t<)RM.)
      (a) PLAINTIFFS                                                                                                                           DEFENDANTS
           Mary Towanda Webster-Reed et                     individually and as                                                                Scott Anthony Collins, et al.
           heir to Brandon Lovell Webster
      (b) County of Residence of First Listed Plaintif'f BrUnSWiCk                                                                             County of Residence of First Listed              Deflndant COIUmbUS COUntV
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      (C)       Attorneys (1.'irn Nane,     Atlclress, ont!        'l
                                                                        elephone Ntrnbar)                                                       Attorneys (lf Knovn)
                lra Braswell lV, P.O. Box 703, Louisburg, NC,
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 II.      BASIS OF JURISDICTION                                    Q)toce an ".\"' in one Rox onty)                             II. CITIZENSHIP OF PRINCIPAL PARTIES                                             (Ptac'c    an "X" in onc Rox./i,r t'tqintill'
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! t         u.s. Govemrnent                     @:           Federal Question                                                                                                  PTF     DEF                                                        ,""
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IV. NATURE OF SUIT                                          on "X" in One        Bos   Onlv)                                                                                    Click here for:

l-l   I   lo In.r.un"e                            PERSONAL       INJURY        PERSONAL INJURY                                             5 Drug Related Seizure                    422 Appeal 28 USC    158              375 False Clairns Act
I I l2o Ma.in.                                    3 |   Airplane
                                                        0                 fl 365 Personal hrjury -                                           ofProperty 2l USC           881         423 Withdrawal                        376 Qui Tam (3 I USC
Ll r30 Miller Acr                                 3 I 5 Airplane Product            Product Liability                                                                                    28 USC 157                            3729(a))
L-l   140   Negoriable Inshurnent                        Liability        E 367 Health Care/                                                                                                                               400 State Reapportionrnent
!     150 Recouery       ofoverpayrnent           320 Assault. Libel &             Phannaceutical                                                                                                                          410 Antitrust
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! t5l Medicare Act                                330 Federal Ernployers'          Product Liability                                                                                 830 Patent                            450 Comrnerce
! I 52 Recovery ofDefaulted                              Liability        [ 368 Asbestos Personal                                                                                    835 Patent - Abbreviated              460 Deportation
             Student Loms                         340 Mrine                         Injury Product                                                                                       New Drug Application              470 Racketeer Influenced and
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fl    ls3 Recovery olOverpayment                         LiAbiIitY          PERSONAL PROPERTY                                                                                        880 Defend Trade Secrets              480 Consurner Credit
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fl 160 Stockholders' Suits                        355 Motor Vehicle       f_l :U t truth in Lending                                          Act                                                                           485 Telephone Consurner
E 190 Other Contract                                    Product Liability ! 380 Otlrer Personal                                       720 Labor/Managernent                                                                     Protection Act
fl 195 Contract Produo Liatriliru                 360 Other Personal               Property Darnage                                          Relations                               861 HrA (1395f0                       490 Cable/Sat TV
f ] 196 Franchise                                       Irrjury           ! 385 Property Darnage                                      740 Railway Labor Act                          862 Black LveO23)                     850 Securities/Cornrnodities/
                                                  362 Personal Injury -            Product Liability                                  75 I Farnily and Medicai                       863 DIWC/DIww (40s(g))                    Exchange
                                                                                                                                           Leave Act                                 864 SSID TitIE XVI                    890 Other Statutory Actions
                                                                                                                                      790 Other Labor Litigation                     86s RSI (40s(g))                      891 Agricultural Acts
                                                  440       Other Civil Rights                     Habeas Corpus:                     791 Ernployee Retirernent                                                            893 Enviromnental Matters
      220 Foreclosure                             441       Voting                                 463 Alien Detainee                        Ilcorue Security Act                                                          895 Freedorn of Infonnation
      230 Rent Lease & Ejectrnent                 442       Ernployrnent                           5 I 0 Nlotiotrs to Vacate                                                         870 Taxes (U.S. Plaintiff                  Act
      240 Tofts to Land                           443       Housing/                                   Sentence                                                                          or Defendant)                     896 Arbitration
      245 Tort Product Liability                            Accorlmodations                        530 General                                                                       871 IRS-Third Party                   899 Adrninistrative Procedure
      290   All Other Real     Property           445 Arner. w/Disabilities -                      535 Death Penalty                                                                      26 USC 7609                          Act/Review or Appeal      of
                                                      Enrployrnent                                 Other:                            462 Naturalization Applicati                                                              Agency Decision
                                                  446 Atner. w/Disabilities                        540   Mandarnus    & Other        465 Other Inrrnigration                                                               950 Constitutionality of
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            Proceeding                    State Court                                    Appellate Court                          Reopened                         Another Drstnct              Litigatiorr                             Litigation -
                                                                                                                                                                   (specify)                    Transf'er                               Direct File
                                                              the U.S. Civil Statute under which you are filing (Do not citejurisdictionul statutes uuless diyersii)
                                                                     Acts of 1 866 &1871: 42 USC 1983
VI.        CAUSE OF ACTION
                                                    Brief description of cause:
                                                    The Decedent, Brandon L. Webster was wrongfully killed by the defendant during an unlawful traffic stop.
VII.         REQUESTED IN                          E          CUECT IF THIS IS A CLASS                          ACTION               DEMAND              $                                 CHECK YES only if demanded in complarnt:
            COMPLAINT:                                        UNDER RULE 23, F.R.Cv.P                                                 $20,000,000.00                                       JLJRY      DEMAND: []Yes ENo
vrrr.           RELATED CASE(S)
                                                            (See   in.\tuctioil.t).
             IF ANy                                                                                                                                                                  DOCKET NUMBER



FOR OFFICE USE ONLY

      RECEIPT#                            AMOUNT                                                         APPLYING IFP                                                                                   MAG. JUDGE


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'(&('(17ZDVDSSUR[LPDWHO\ILYHKXQGUHG\DUGVDQGDIHZVHFRQGVIURPWKHIURQWHQWUDQFHWR

WKH&LYLHWRZQ0LQL0DUW

            ,QWKHVHFRQGVLWWRRNIRUWKH'(&('(17WRWUDYHOILYHKXQGUHG\DUGVWRWKHIURQW

HQWUDQFHRIWKH0LQL0DUW'HIHQGDQW&2//,16DFWLYDWHGKLVSDWUROYHKLFOH¶VEOXHOLJKWVDQG

SXOOHGWKH'(&('(17RYHULQWKH0LQL0DUW¶VSDUNLQJORW

            $WWKHWLPHRIWKHWUDIILFVWRS'HIHQGDQW&2//,16ZDVQRWSXUVXLQJWKH

'(&('(17IRUDQ\YLRODWLRQRI1RUWK&DUROLQDODZ

             $WWKHWLPHRIWKHWUDIILFVWRS'(&('(17ZDVXQDUPHG

             $WWKHWLPHRIWKHWUDIILFVWRS'(&('(17ZDVQRWDIOHHLQJIHORQ

             $WWKHWLPHRIWKHWUDIILFVWRS'(&('(17KDGQRWFRPPLWWHGDFULPLQDORIIHQVH



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             Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 6 of 28
           $WWKHWLPHRIWKHWUDIILFVWRS'(&('(17SRVHGQRLPPHGLDWHWKUHDWRIGHDWKRU

VHULRXVSK\VLFDOLQMXU\WRHLWKHU'HIHQGDQW&2//,16RUDQ\RWKHUSHUVRQ

           6KRUWO\DIWHUVWRSSLQJWKH'(&('(17LQWKH0LQL0DUWSDUNLQJORWDQGEHIRUH

FRQIURQWLQJWKH'(&('(17'HIHQGDQW&2//,16H[LWHGKLVSDWUROYHKLFOHZLWKKLVVHUYLFH

UHYROYHUGUDZQZKLOH\HOOLQJDWVKRSSHUVOHDYLQJWKH0LQL0DUW³WRFDOO´

           7KH'(&('(17ZKLOHEDFNLQJRXWRIKLVSDUNLQJVSDFHZDVFRQIURQWHGE\

'HIHQGDQW&2//,16SRLQWLQJKLVVHUYLFHZHDSRQDWKLPDQG\HOOLQJ³VWRSRU,¶OOIXFNLQJVKRRW

\RX´7KH'(&('(17SDQLFNHGDQGWULHGWRVZHUYHDURXQG'HIHQGDQW&2//,16WROHDYHWKH

SDUNLQJORWEXW'HIHQGDQW&2//,16FRQWLQXHGWRUXQDWWKH'(&('(17 VYHKLFOHZLWKKLV

VHUYLFHUHYROYHUGUDZQZKLOH\HOOLQJ³VWRSRU,¶OOIXFNLQJVKRRW\RX´

           'XULQJWKHWUDIILFVWRSDZLWQHVVREVHUYHGWKH'(&('(17DWWHPSWLQJWR

VXUUHQGHUE\EULHIO\SXWWLQJXSKLVKDQGVKRZHYHU'HIHQGDQW&2//,16LJQRUHGWKH

'(&('(17 VVXUUHQGHUDQGFRQWLQXHGHVFDODWLQJWKHVWRSE\SRLQWLQJKLVVHUYLFHZHDSRQDWWKH

'(&('(17ZKLOH\HOOLQJ³,¶OOIXFNLQJVKRRW\RX´

           :KLOHVWLOOLQWKH0LQL0DUWSDUNLQJORWDQGVKRUWO\DIWHUWKH'(&('(17SXWXS

KLVKDQGV'HIHQGDQW&2//,16GLVFKDUJHGKLVILUHDUPDWOHDVWWZLFHWKURXJKWKHGULYHU¶VVLGH

WLQWHGZLQGRZRIWKH'(&('(17¶VYHKLFOHVWULNLQJKLPWZRWLPHVLQFOXGLQJVKRWVWRKLVOHIW

VLGHDQGVKRXOGHUFDXVLQJ'(&('(17VHULRXVSK\VLFDOLQMXULHVWKDWHYHQWXDOO\NLOOHGKLP

           $WWKHWLPH'HIHQGDQW&2//,16ILUHGLQWRWKHRFFXSLHGSDVVHQJHUFRPSDUWPHQW

RI'(&('(17¶VYHKLFOHLWZDVDOVRRFFXSLHGE\SDVVHQJHU:KLWQH\0F.HLWKRQZKRZDVDOVR

VHULRXVO\LQMXUHGE\VKDUGVRIJODVVIURPWKHGULYHU¶VVLGHZLQGRZVKRWRXWE\'HIHQGDQW

&2//,16

           'HIHQGDQW&2//,16ZKLOHVWDQGLQJRXWVLGHRI'(&('(17¶VSDWKRIWUDYHODQG

ZHOOUHPRYHGIURPDQ\WKUHDWRIKDUPILUHGDWOHDVWWZRJXQVKRWVinto WKH'(&('(17DIWHUKH

had DOUHDG\GULYHQpast him.

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           Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 7 of 28
            $IWHUEHLQJVKRWWKH'(&('(17GURYHWKHTXDUWHUPLOHEDFNWRKLVIDPLO\¶V

UHVLGHQFHZKHUHKLVSDUHQWVSODFHGKLPLQWRWKHEDFNVHDWRIWKHLUFDUDQGWUDQVSRUWHGKLPWR

1RYDQW5HJLRQDO+RVSLWDO7KH'(&('(17SDVVHGDZD\LQKLVPRWKHU¶VDUPVEHIRUHDUULYLQJ

DWWKHHPHUJHQF\URRP

            $IWHUHPHUJHQF\URRPVWDIIWRRNWKH'(&('(17IURPKLVSDUHQWV

'(&('(17¶VSDUHQWVZKLOHVWLOOFRYHUHGLQWKHLUVRQ¶VEORRGZHUHDSSURDFKHGE\GHSXWLHV

IURPWKH%UXQVZLFN&RXQW\6KHULII¶V'HSDUWPHQW ³%&6'´ ZLWKWKHLUVHUYLFHUHYROYHUVGUDZQ

DQGSRLQWHGGLUHFWO\DWWKHPZKLOH\HOOLQJ³3XW\RXUKDQGVXSRU,¶OONLOO\RXZKHUH\RXVWDQG´

            '(&('(17¶VSDUHQWVZHUHKDQGFXIIHGEHKLQGWKHLUEDFNVDQGWDNHQLQWRFXVWRG\

E\WKH%&6'



             '(&('(17¶VSDUHQWVZHUHQHYHUFKDUJHGZLWKDFULPH

             $WWKHWLPHRIWKHVKRRWLQJ'(&('(17ZDVXQDUPHG

             $WWKHWLPHRIWKHVKRRWLQJ'(&('(17ZDVQRWDIOHHLQJIHORQ

             $WWKHWLPHRIWKHVKRRWLQJ'(&('(17KDGQRWFRPPLWWHGDFULPLQDORIIHQVH

             7KH'(&('(17QHYHUYHUEDOO\WKUHDWHQHG'HIHQGDQW&2//,16QRUPDGHDQ\

HIIRUWWRVWHHUKLVYHKLFOHLQWKHGLUHFWLRQRI'HIHQGDQW&2//,16SULRUWREHLQJIDWDOO\VKRW

)XUWKHUPRUHSULRUWRWKHVKRRWLQJ'(&('(17ZDVQRWVXVSHFWHGRIFRPPLWWLQJDQ\VHULRXV

FULPH'HIHQGDQW&2//,16GLGQRWSRVVHVVLQIRUPDWLRQWKDW'(&('(17KDGFRPPLWWHGDQ\

FULPH'HIHQGDQW&2//,16KDGQRLQIRUPDWLRQWKDW'(&('(17ZDVDUPHGZLWKDZHDSRQ

DQG'HIHQGDQW&ROOLQVKDGQRLQIRUPDWLRQWKDW'(&('(17KDGSK\VLFDOO\KDUPHGRULQMXUHG

DQ\RQH




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             Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 8 of 28
             'HIHQGDQW&2//,16VKRW'(&('(17GHVSLWHODFNLQJUHDVRQDEOHVXVSLFLRQIRU

VWRSSLQJWKH'(&('(17¶VYHKLFOHDQG'(&('(17QRWSUHVHQWLQJDQ\WKUHDWRIGHDWKRU

VHULRXVERGLO\LQMXU\WRKLPVHOIRUDQ\RQHHOVH,QWKHIHZVHFRQGVLWWRRNIRU'(&('(17WR

WUDYHOILYHKXQGUHG\DUGV'HIHQGDQW&2//,16HVFDODWHGDWUDIILFVWRSLQWRDQRWKHUXQMXVWLILHG

NLOOLQJRIDQXQDUPHGEODFNPDQ$FFRUGLQJWR'HIHQGDQW&2//,16QHLWKHUKLVERG\FDPHUD

QRUKLVSDWUROYHKLFOH¶VGDVKERDUGFDPHUDZHUHRSHUDWLQJGXULQJWKH'(&('(17¶VWUDIILFVWRS

DQGVXEVHTXHQWNLOOLQJ

             'HIHQGDQW&2//,16LVUHVSRQVLEOHIRUSXOOLQJWKHWULJJHUZLWKHYHU\VKRWKHILUHG

DQGWKHVKRWVILUHGZHUHQRWLQUHVSRQVHWRDQLPPHGLDWHGHIHQVHRIKLVOLIH

             'HIHQGDQW&2//,16KDGQRLQIRUPDWLRQWKDW'(&('(17KDGFRPPLWWHGDQ\

IHORQ\RUZDVDUPHGZLWKDZHDSRQ

             'HIHQGDQW&2//,16QHYHUFDOOHGLQWKH'(&('(17¶VWUDIILFVWRSWRKLV

GLVSDWFKHUV'HIHQGDQW&2//,16QHYHUFDOOHGIRUDVVLVWDQFHRUEDFNXS'HIHQGDQW&2//,16

QHYHUDFWLYDWHGKLVERG\FDPHUDRUKLVSDWUROYHKLFOH¶VGDVKPRXQWHGFDPHUD'HIHQGDQW

&2//,16QHYHUREVHUYHGWKH'(&('(17YLRODWHDQ\PRWRUYHKLFOHODZVRQ+ROGHQ%HDFK

5RDGSULRUWRVWRSSLQJKLP'HIHQGDQW&2//,16QHYHUFRQIURQWHGRUJDYHDQ\YHUEDO

FRPPDQGVWRWKH'(&('(17ZLWKRXWKLVVHUYLFHUHYROYHUEHLQJGUDZQDQGSRLQWHGDWWKH

'(&('(17ZKLOH\HOOLQJ³VWRSRU,¶OOIXFNLQJVKRRW\RX´'HIHQGDQW&2//,16SRVHGDQ

LPPHGLDWHWKUHDWRIGHDWKRUVHULRXVSK\VLFDOLQMXU\WRWKH'(&('(17KLVSDVVHQJHUDQGSXEOLF

FLWL]HQVH[LWLQJWKH0LQL0DUWDVHYLQFHGE\'(&('(17¶VGHDWKDQGWKHVHULRXVZRXQGLQJRI

KLVSDVVHQJHU

             ,PPHGLDWHO\DIWHUWKHVKRRWLQJ'HIHQGDQW&2//,16IDOVHO\FODLPHGWKH

'(&('(17WULHGWRUXQKLPRYHUDQGWKDWKHRQO\VKRWWKH'(&('(17WRNHHSIURPEHLQJUXQ

RYHUE\KLVYHKLFOH'(&('(17QHYHUVWHHUHGKLVWUXFNLQWKHGLUHFWLRQRI'HIHQGDQW

&2//,16DQGLQIDFWZHQWRXWRIKLVZD\WRDYRLGDQ\FRQWDFWZLWK'HIHQGDQW&2//,16RQ

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           Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 9 of 28
WKHWZR  RFFDVLRQV'HIHQGDQW&2//,16FKDUJHGKLVYHKLFOH

              $IWHUVKRRWLQJWKH'(&('(17WKH0LQ0DUWYLGHRIRRWDJHVKRZV'HIHQGDQW

&2//,16DQGDQRWKHUXQLGHQWLILHGZKLWHPDOH 0DUN+HZHWW DWWKHVFHQHRIWKHVKRRWLQJ

GHOLEHUDWHO\DQGPHWKRGLFDOO\VHDUFKLQJIRUWKHVKHOOFDVLQJVHMHFWHGIURP'HIHQGDQW&2//,16 

JXQ

              'HIHQGDQW&2//,16DORQJZLWK'2(6RIWKH6%,FRQVSLUHGDQGDJUHHGWR

OLHDERXWWKHHYHQWVRI-DQXDU\LQRUGHUWRFRQFHDOWKHLUPLVFRQGXFW

              'HIHQGDQW&2//,16¶IDOVHVWDWHPHQWWKDWKHVKRWWKH'(&('(17EHFDXVHKH

ZDVWU\LQJWRUXQKLPRYHUZDVQRWVXSSRUWHGE\ZLWQHVVVWDWHPHQWVWKHYLGHRUHFRUGLQJVPDGH

E\WKH&LYLHWRZQKLJKGHILQLWLRQVXUYHLOODQFHFDPHUDVRUWKHYLGHRUHFRUGLQJVWDNHQE\SDWURQV

H[LWLQJWKH0LQL0DUW

              7KH0LQL0DUW¶VKLJKGHILQLWLRQYLGHRIRRWDJHOLNHO\SURYLGHGWKHKLJKHVWTXDOLW\

SLFWRULDOHYLGHQFHRIWKHHYHQWVVXUURXQGLQJWKH'(&('(17¶VGHDWKKRZHYHUDIWHU'2(6

REWDLQHGDFRS\RIWKH0LQL0DUWYLGHRVXUYHLOODQFHUHFRUGLQJ'2(6IDOVHO\DGYLVHGVWRUH

RZQHUVWKDWWKH\FRXOGQRWUHOHDVHDQRWKHUFRS\ZLWKRXWDFRXUWRUGHU)XUWKHUPRUHDFFRUGLQJWR

WKHVWRUHRZQHUV'2(6WKUHDWHQHGWKHPZLWKGHSRUWDWLRQLIWKH\UHOHDVHGDFRS\RIWKH

YLGHR'2(6LQWHQWLRQDOO\PLVOHDGWKHVWRUHRZQHUVLQRUGHUWRFRQFHDOWKHVKRFNLQJ

PLVFRQGXFWRI'HIHQGDQW&2//,16IURPPHPEHUVRIWKHSXEOLFDQGWKHPHGLD

              $IWHU'2(6WKUHDWHQHGWKH0LQL0DUWVWRUHRZQHUVZLWKGHSRUWDWLRQDOO

HIIRUWVE\WKHPHGLDPHPEHUVRIWKHSXEOLFDQGMXVWLFHDGYRFDF\JURXSVWRREWDLQDFRS\RIWKH

0LQL0DUW¶VYLGHRIRRWDJHRI'HIHQGDQW&2//,16¶NLOOLQJRIWKH'(&('(17ZHUH

XQVXFFHVVIXO

     6KRUWO\DIWHU'2(6SUHYHQWHGWKH0LQL0DUWVWRUHRZQHUVIURPUHOHDVLQJDFRS\RI

               ³WKHLU´KLJKGHILQLWLRQYLGHRIRRWDJHRIWKH'(&('(17¶6GHDWK'2(6EHJDQ



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          Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 10 of 28
FRQILVFDWLQJWKHFHOOSKRQHVIURPVKRSSHUVWKDWYLGHRWDSHGWKH'(&('(17¶6GHDWKWRUHLQIRUFH

WKHFRYHUXSRIWKHLUPLVFRQGXFWDQGWRJLYHWKHPDQRSSRUWXQLW\WRUHOHDVHDQHGLWHGYHUVLRQRI

WKH0LQL0DUW¶VYLGHRWRWKHSXEOLFWRFUHDWHDQDUUDWLYHPRUHIDYRUDEOHWR'HIHQGDQW&2//,16

           )ROORZLQJWKH6%,¶VFDOFXODWHGPHDVXUHVWRSUHYHQWPHPEHUVRIWKHPHGLDDQGWKH

SXEOLFIURPYLHZLQJWKHRULJLQDOYLGHRIRRWDJHRIWKH'(&('(17¶6NLOOLQJUHO\LQJRQO\RQWKH

IDOVHVWDWHPHQWVPDGHE\'HIHQGDQW&2//,16DQG'2(6QHZVFRYHUDJHLPPHGLDWHO\DIWHU

WKHVKRRWLQJZURQJO\VWDWHGWKH'(&('(17ZDVVKRWZKLOHWU\LQJWRUXQRYHU'HIHQGDQW

&2//,16ZLWKKLVYHKLFOH

           '2(6IURPWKH6%,IDLOHGWRFRQILVFDWHDOORIWKH0LQL0DUWVKRSSHUV¶FHOO

SKRQHVEHIRUHYLGHRIRRWDJHRIWKH'(&('(17¶VGHDWKOHDNHGRQWRVRFLDOPHGLDSODWIRUPVOLNH

IDFHERRNDQG<RX7XEH7KHYLGHRVIURPWKH0LQL0DUWVKRSSHUV¶FHOOSKRQHVVKRZHG'HIHQGDQW

&2//,16VWDQGLQJRQWKHGULYHU VVLGHRI'(&('(17¶VWUXFNDQGILULQJVKRWVLQWRWKHWUXFNDVLW

SDVVHGE\$GGLWLRQDOYLGHRIRRWDJHVKRZV'HIHQGDQW&2//,16DQGDFLYLOLDQODWHULGHQWLILHGDV

0DUN+HZHWWSROLFLQJWKHFULPHVFHQHIRU'HIHQGDQW&2//,16 VSHQWVKHOOFDVLQJV7KHYLGHR

DOVRVKRZVVHYHUDOODZHQIRUFHPHQWRIILFHUVGHVWUR\LQJWKHFULPHVFHQHE\GULYLQJWKHLUYHKLFOHV

WKURXJKLW

           )ROORZLQJWKHVKRRWLQJWKH6%,GHOD\HGLQWHUYLHZLQJ'HIHQGDQW&2//,16IRU

RYHUWZR  PRQWKV7KXVSURYLGLQJ'HIHQGDQW&2//,16DQGKLVFRFRQVSLUDWRUVZLWKDPSOH

WLPHWRSURYLGHLQYHVWLJDWRUVPHGLDRXWOHWVDQGWKHSXEOLFZLWKVWDWHPHQWVWKH\NQHZZHUHIDOVH

           5HO\LQJRQ'HIHQGDQW&2//,16¶IDOVHVWDWHPHQWVHGLWHGYLGHRWDSHVDQGWKH6%,

DJHQWV¶GHOLEHUDWHDQGPHWKRGLFDOFRQFHDOPHQWRIWKHIDFWVVXUURXQGLQJ'HIHQGDQW&2//,16¶

NLOOLQJRIWKH'(&('(17WKH1RUWK&DUROLQD$WWRUQH\*HQHUDO-RVK6WHLQ ³0U6WHLQ´ IRXQG

WKDW'HIHQGDQW&2//,16ZDVMXVWLILHGLQXVLQJGHDGO\IRUFHDJDLQVWWKH'(&('(17)ROORZLQJ

0U6WHLQ¶VGHFLVLRQWKHPHGLDSRUWUD\HGWKH'(&('(17DVDFULPLQDONLOOHGE\'HIHQGDQW

&2//,16ZKLOHDWWHPSWLQJWRUXQKLPRYHU

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          Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 11 of 28
           $OWKRXJK'HIHQGDQW&2//,16¶SDWUROYHKLFOHZDVHTXLSSHGZLWKDGDVK

PRXQWHGYLGHRFDPHUD ³GDVKFDP´ UHSUHVHQWDWLYHVIURP0U6WHLQ¶VRIILFHFODLPHGWKDWWKH\

³FHUWLILHG´WKDWKLVGDVKFDPZDVLQRSHUDWLYHRQ-DQXDU\,WLVRGG'HIHQGDQW

&2//,16¶GDVKFDPZDVLQRSHUDWLYHRQWKHEXVLHVW':,KROLGD\RIWKH\HDU2QLQIRUPDWLRQ

DQGEHOLHILWLVWKHSROLF\RIWKH1RUWK&DUROLQD6WDWH+LJKZD\3DWURO ³1&6+3´ WKDWDOO

SDWUROPDQ³WHVWDQGFHUWLI\´WKDWWKHLUSDWUROYHKLFOH¶VGDVKPRXQWHGFDPHUDVDUHSURSHUO\

RSHUDWLQJSULRUWRDQGIROORZLQJHDFKVKLIWRQSDWURO

           'XULQJDPHHWLQJKHOGRQ$SULOEHWZHHQ72:$1'$5(('DQG

UHSUHVHQWDWLYHVRI0U6WHLQ¶VRIILFHVDLGUHSUHVHQWDWLYHVFRXOGQRWSURYLGHDOHJDOMXVWLILFDWLRQ

IRU'HIHQGDQW&2//,16¶GHWDLQPHQWRIWKH'(&('(17QRUSURYLGHDOHJDOMXVWLILFDWLRQIRU

'HIHQGDQW&2//,16¶HVFDODWLRQRIHYHQWVWRDQDWWHPSWHGDUUHVWRIWKH'(&('(17

           )ROORZLQJWKHHYHQWVUHIHUHQFHGKHUHLQDERYHQHLWKHUWKH'(&('(17QRUKLV

SDVVHQJHUZHUHHYHUFKDUJHGZLWKDFULPH

           3ODLQWLII72:$1'$5(('ZDVGHSHQGHQWRQ'(&('(17LQFOXGLQJ

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 RIWKLV&RPSODLQWDVWKRXJKIXOO\VHWIRUWKEHORZLQWKLV&RXQW,

            'HIHQGDQW&2//,16FDXVHG'(&('(17WREHGHWDLQHGDQGKHDWWHPSWHGWR

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          Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 12 of 28
VHDUFKHVDQGVHL]XUHVDVJXDUDQWHHGWR'(&('(17XQGHUWKH)RXUWK$PHQGPHQWWRWKH8QLWHG

6WDWHV&RQVWLWXWLRQDQGDSSOLHGWRVWDWHDFWRUVE\WKH)RXUWHHQWK$PHQGPHQW)XUWKHU

'HIHQGDQW&2//,16XQGHUFRORURIODZGHSULYHGWKH'(&('(17RIKLVULJKWVWRGXHSURFHVV

RIODZDQGHTXDOSURWHFWLRQXQGHUWKHODZ

               $VWKHUHVXOWRIWKHFRQGXFWRI'HIHQGDQW&2//,16KHLVOLDEOHIRU

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             'HIHQGDQW&2//,16GHWDLQHGWKH'(&('(17ZLWKRXWUHDVRQDEOHVXVSLFLRQDQG

WKHQDWWHPSWHGWRDUUHVWWKH'(&('(17ZLWKRXWSUREDEOHFDXVH

             7KH'(&('(17¶VULJKWWRQRWEHVXEMHFWHGWRWKHPLVFRQGXFWRI'HIHQGDQW

&2//,16ZDVFOHDUO\HVWDEOLVKHGDWWKHWLPHRIWKHPLVFRQGXFW

             'HIHQGDQW&2//,16FRXOGUHDVRQDEO\IRUHVHHWKDWKLVPLVFRQGXFWFRXOGUHVXOWLQ

WKHVHULRXVERGLO\LQMXU\RUGHDWKRIWKH'(&('(17

             $VDGLUHFWUHVXOWRI'HIHQGDQW&2//,16GLVFKDUJLQJKLVILUHDUPLQWRWKH

RFFXSLHGSDVVHQJHUFRPSDUWPHQWRIWKH'(&('(17¶VYHKLFOHDWOHDVWWZRWLPHVVWULNLQJKLP

WZLFHLQFOXGLQJVKRWVWRKLVOHIWVLGHDQGVKRXOGHUWKH'(&('(17VXIIHUHGVHULRXVSK\VLFDO

LQMXULHVWKDWUHVXOWHGLQKLVGHDWK

             7KHFRQGXFWRI'HIHQGDQW&2//,16ZDVZLOOIXOZDQWRQPDOLFLRXVDQGGRQHLQ

DPDQQHUWKDWGHPRQVWUDWHGKLVUHFNOHVVGLVUHJDUGIRUWKHULJKWVDQGOLIHRIWKH'(&('(17DQG

WKHUHIRUHZDUUDQWVWKHLPSRVLWLRQRIFRPSHQVDWRU\DQGSXQLWLYHGDPDJHV

             $FFRUGLQJO\'HIHQGDQW&2//,16LVOLDEOHWRWKH3ODLQWLIIVIRUFRPSHQVDWRU\DQG

SXQLWLYHGDPDJHVLQFOXGLQJERWKVXUYLYDOGDPDJHVDQGZURQJIXOGHDWKGDPDJHVXQGHU

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             7KH3ODLQWLIIVDOVRVHHNDWWRUQH\IHHVXQGHUWKLVFODLP



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           Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 13 of 28
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                                8QUHDVRQDEOH6HDUFKDQG6HL]XUH

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            'HIHQGDQW&2//,16KDGQROHJDOMXVWLILFDWLRQIRUVKRRWLQJWKH'(&('(17

            7KH'(&('(17GLGQRWSRVHDQLPPHGLDWHWKUHDWWR'HIHQGDQW&2//,16$Q

REMHFWLYHO\UHDVRQDEOHRIILFHULQWKH'HIHQGDQW¶VFLUFXPVWDQFHVZRXOGQRWKDYHFRQFOXGHGWKDWD

WKUHDWH[LVWHGMXVWLI\LQJWKHXVHRIGHDGO\IRUFHDJDLQVWWKH'(&('(17

           $VDUHVXOW'(&('(17VXIIHUHGH[WUHPHPHQWDODQGSK\VLFDOSDLQDQG

VXIIHULQJORVVRIHQMR\PHQWRIOLIHDQGHYHQWXDOO\VXIIHUHGDORVVRIOLIHDQGRIHDUQLQJFDSDFLW\

7KH3ODLQWLIIVKDYHDOVREHHQGHSULYHGRIWKHORYHFRPSDQLRQVKLSFRPIRUWVXSSRUWVRFLHW\

FDUHDQGVXVWHQDQFHRI'(&('(17DQGZLOOFRQWLQXHWREHGHSULYHGIRUWKHUHPDLQGHURIWKHLU

QDWXUDOOLYHV7KH3ODLQWLIIVDUHDOVRFODLPLQJIXQHUDODQGEXULDOH[SHQVHVDQGDORVVRIILQDQFLDO

VXSSRUW

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'(&('(17¶6LQMXULHVDQGVXEVHTXHQWGHDWKEHFDXVHKHDORQHDSSOLHGWKHH[FHVVLYHIRUFHWKDW

GLUHFWO\FDXVHGWKH'(&('(17¶VGHPLVH

           'HIHQGDQW&2//,16¶XVHRIGHDGO\IRUFHZDVH[FHVVLYHEHFDXVHWKLVZDVQRWDQ

LPPHGLDWHGHIHQVHRIOLIHVFHQDULR'HIHQGDQW&2//,16ZKLOHVWDQGLQJEHVLGHWKH

'(&('(17¶VWUXFNDQGRXWRILWVSDWKILUHGDWOHDVWWZRJXQVKRWVDW'(&('17DIWHUKLVWUXFN

KDGDOUHDG\SDVVHG$Q\WKUHDWSRVHGE\WKH'(&('(17HQGHGZKHQKHGURYHKLVYHKLFOHLQD

WUDMHFWRU\DZD\IURP'HIHQGDQW&2//,16$IWHUWKH'(&('(17KDGGULYHQSDVWWKH

'HIHQGDQWDQGLQDWUDMHFWRU\DZD\IURPKLPDQREMHFWLYHO\UHDVRQDEOHRIILFHULQWKH


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            Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 14 of 28
'HIHQGDQW¶VFLUFXPVWDQFHVZRXOGKDYHFRQFOXGHGWKDWQRWKUHDWH[LVWHGMXVWLI\LQJ'HIHQGDQW

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              7KH'HIHQGDQW VXVHRIGHDGO\IRUFHZDVH[FHVVLYHDQGXQUHDVRQDEOHXQGHUWKH

FLUFXPVWDQFHVEHFDXVHWKH'(&('(17QHYHUYHUEDOO\WKUHDWHQHG'HIHQGDQW&2//,16QRU

PDGHDQ\HIIRUWWRKDUPRULQMXUH'HIHQGDQW&2//,16SHUVRQDOO\RUZLWKKLVYHKLFOHSULRUWR

EHLQJIDWDOO\VKRWE\KLP)XUWKHUPRUHSULRUWRWKHVKRRWLQJ'(&('(17ZDVQRWVXVSHFWHGRI

FRPPLWWLQJDQ\VHULRXVFULPH'HIHQGDQW&2//,16GLGQRWSRVVHVVLQIRUPDWLRQWKDW

'(&('(17KDGFRPPLWWHGDQ\FULPH'HIHQGDQW&2//,16KDGQRLQIRUPDWLRQWKDW

'(&('(17ZDVDUPHGZLWKDZHDSRQDQG'HIHQGDQW&2//,16KDGQRLQIRUPDWLRQWKDW

'(&('(17KDGSK\VLFDOO\KDUPHGRULQMXUHGDQ\RQH<HW'HIHQGDQW&2//,16GLVFKDUJHGKLV

ILUHDUPLQWRWKHRFFXSLHGSDVVHQJHUFRPSDUWPHQWRIWKH'(&('(17¶VYHKLFOHDWOHDVWWZR

WLPHVVWULNLQJKLPWZLFH$QREMHFWLYHO\UHDVRQDEOHRIILFHULQ'HIHQGDQW&2//,16¶

FLUFXPVWDQFHVZRXOGQRWKDYHFRQFOXGHGWKDWDWKUHDWH[LVWHGMXVWLI\LQJWKH'HIHQGDQW¶VXVHRI

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FLUFXPVWDQFHVWKHQH[LVWLQJ'(&('(17GLGQRWFRQVHQWWRDQ\RIWKH'HIHQGDQW¶VFRQGXFWDV

GHVFULEHGKHUHLQ

              7KH'(&('(17¶VULJKWQRWWREHVXEMHFWHGWRVXFKFRQGXFWZDVFOHDUO\

HVWDEOLVKHGDWWKHWLPHRIWKHPLVFRQGXFW

              7KHFRQGXFWRI'HIHQGDQW&2//,16ZDVZLOOIXOZDQWRQPDOLFLRXVDQGGRQHLQ

DPDQQHUWKDWGHPRQVWUDWHGKLVUHFNOHVVGLVUHJDUGIRUWKHULJKWVDQGOLIHRIWKH'(&('(17DQG

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$PHQGPHQWWRWKH8QLWHG6WDWHV&RQVWLWXWLRQWREHIUHHIURPVWDWHDFWLRQVWKDWGHSULYHGKHURI

OLIHOLEHUW\RUSURSHUW\LQVXFKDPDQQHUDVWRVKRFNWKHFRQVFLHQFHLQFOXGLQJEXWQRWOLPLWHGWR

XQZDUUDQWHGVWDWHLQWHUIHUHQFHLQ3ODLQWLII¶VIDPLOLDOUHODWLRQVKLSZLWKKHUIDWKHU'(&('(17

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$PHQGPHQWWRWKH8QLWHG6WDWHV&RQVWLWXWLRQWREHIUHHIURPVWDWHDFWLRQVWKDWGHSULYHGKLPRI

OLIHOLEHUW\RUSURSHUW\LQVXFKDPDQQHUDVWRVKRFNWKHFRQVFLHQFHLQFOXGLQJEXWQRWOLPLWHGWR

XQZDUUDQWHGVWDWHLQWHUIHUHQFHLQ3ODLQWLII¶VIDPLOLDOUHODWLRQVKLSZLWKKLVIDWKHU'(&('(17

            $5KDGDFRJQL]DEOHLQWHUHVWXQGHUWKH'XH3URFHVV&ODXVHRIWKH)RXUWHHQWK

$PHQGPHQWWRWKH8QLWHG6WDWHV&RQVWLWXWLRQWREHIUHHIURPVWDWHDFWLRQVWKDWGHSULYHGKLPRI

OLIHOLEHUW\RUSURSHUW\LQVXFKDPDQQHUDVWRVKRFNWKHFRQVFLHQFHLQFOXGLQJEXWQRWOLPLWHGWR

XQZDUUDQWHGVWDWHLQWHUIHUHQFHLQ3ODLQWLII¶VIDPLOLDOUHODWLRQVKLSZLWKKLVEURWKHU'(&('(17

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GHSULYHGKHURIOLIHOLEHUW\RUSURSHUW\LQVXFKDPDQQHUDVWRVKRFNWKHFRQVFLHQFHLQFOXGLQJ

EXWQRWOLPLWHGWRXQZDUUDQWHGVWDWHLQWHUIHUHQFHLQ3ODLQWLII¶VIDPLOLDOUHODWLRQVKLSZLWKKHUVRQ

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FRQVWLWXWLRQDOULJKWRIIDPLOLDOUHODWLRQVKLSZLWK'(&('(17

             'HIHQGDQW&2//,16DFWLQJXQGHUFRORURIVWDWHODZWKXVYLRODWHGWKH

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             7KHDIRUHPHQWLRQHGDFWLRQVE\'HIHQGDQW&2//,16DORQJZLWKRWKHU

XQGLVFRYHUHGFRQGXFWVKRFNWKHFRQVFLHQFHLQWKDWKHDFWHGZLWKGHOLEHUDWHLQGLIIHUHQFHWRWKH

FRQVWLWXWLRQDOULJKWVRI'(&('(17DQG3ODLQWLIIV$5.:%:-UDQG72:$1'$5(('

ZLWKDSXUSRVHWRKDUPXQUHODWHGWRDQ\OHJLWLPDWHODZHQIRUFHPHQWREMHFWLYH

             'HIHQGDQW&2//,16DFWLQJXQGHUFRORURIVWDWHODZWKXVYLRODWHGWKH)RXUWHHQWK

$PHQGPHQWULJKWVRIWKH'(&('(17DQG3ODLQWLIIV

             $VDGLUHFWDQGSUR[LPDWHFDXVHRIWKHDFWVE\'HIHQGDQW&2//,163ODLQWLIIV

VXIIHUHGH[WUHPHDQGVHYHUHPHQWDODQJXLVKDQGSDLQDQGKDYHEHHQLQMXUHGLQPLQGDQGERG\

3ODLQWLIIVKDYHDOVREHHQGHSULYHGRIWKHOLIHORQJORYHFRPSDQLRQVKLSFRPIRUWVXSSRUW

VRFLHW\FDUHDQGVXVWHQDQFHRI'(&('(17DQGZLOOFRQWLQXHWREHVRGHSULYHGIRUWKH

UHPDLQGHURIWKHLUQDWXUDOOLYHV3ODLQWLIIVDUHDOVRFODLPLQJIXQHUDODQGEXULDOH[SHQVHVDQGD

ORVVRIILQDQFLDOVXSSRUW

             $VDGLUHFWDQGSUR[LPDWHUHVXOWRI'HIHQGDQW&2//,16¶PLVFRQGXFWKHLVOLDEOH

IRU'(&('(17¶VLQMXULHVDQGVXEVHTXHQWGHDWKIXUWKHUKHDORQHSDUWLFLSDWHGLQWKHGHQLDORI

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             7KHFRQGXFWRI'HIHQGDQW&2//,16ZDVZLOOIXOZDQWRQPDOLFLRXVDQGGRQHLQ

DPDQQHUWKDWGHPRQVWUDWHGKLVUHFNOHVVGLVUHJDUGIRUWKHULJKWVDQGOLIHRIWKH'(&('(17DQG

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             3ODLQWLIIVEULQJWKLVFODLPLQGLYLGXDOO\DQGVHHNZURQJIXOGHDWKGDPDJHVIRUWKH

YLRODWLRQRI3ODLQWLIIV¶ULJKWV

             7KH3ODLQWLIIVDOVRVHHNDWWRUQH\IHHVXQGHUWKLVFODLP

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                                         1RUWK&DUROLQD/DZ

                                    )DOVH$UUHVW)DOVH,PSULVRQPHQW
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             7KH3ODLQWLIIVLQFRUSRUDWHE\UHIHUHQFHKHUHWRSDUDJUDSKVRQH  WKURXJKQLQHW\

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             'HIHQGDQW&2//,16ZKLOHZRUNLQJDVDSDWUROPDQIRUWKH1&6+3DQGZKLOH

ZRUNLQJZLWKLQWKHFRXUVHDQGVFRSHRIKLVGXWLHVLQWHQWLRQDOO\GHSULYHG'(&('(17RIKLV

IUHHGRPRIPRYHPHQWE\XVHRIIRUFHWKUHDWVRIIRUFHDQGXQUHDVRQDEOHGXUHVVZKHQ'HIHQGDQW

&2//,16VKRW'(&('(17PXOWLSOHWLPHVDQGNLOOHGKLP'HIHQGDQW&2//,16LQWHQWLRQDOO\

VKRWDWWKH'(&('(17LQRUGHUWRGHWDLQKLP'HIHQGDQW&2//,16DOVRGHWDLQHGWKH

'(&('(17ZLWKRXWUHDVRQDEOHVXVSLFLRQ7KHUHZDVDQDWWHPSWE\'HIHQGDQW&2//,16WR

DUUHVWWKH'(&('(17ZLWKRXWSUREDEOHFDXVH

             '(&('(17GLGQRWNQRZLQJO\RUYROXQWDULO\FRQVHQWWRKLVGHWHQWLRQRU

DWWHPSWHGDUUHVW8SRQLQIRUPDWLRQDQGEHOLHI'(&('(17GLGQRWIHHOIUHHWROHDYHDV

'HIHQGDQW&2//,16\HOOHG³6WRSRU,¶OOIXFNLQJVKRRW\RX´RUDIWHUEHLQJVKRWDWOHDVWWZLFHE\

'HIHQGDQW&2//,16ZKLOHGULYLQJSDVWKLP%\VKRRWLQJDQGNLOOLQJWKH'(&('(17

'HIHQGDQW&2//,16GHSULYHG'(&('(17ZKRZDVXQDUPHGRIKLVOLEHUW\ZLWKRXW

MXVWLILFDWLRQ)XUWKHUPRUH'HIHQGDQW&2//,16GLGQRWKDYHSUREDEOHFDXVHWREHOLHYHWKDW

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            'HIHQGDQW&2//,16¶FRQGXFWZDVPDOLFLRXVZDQWRQRSSUHVVLYHDQG

XQGHUWDNHQZLWKDGHOLEHUDWHGLVUHJDUGIRUWKHULJKWVRI'(&('(17HQWLWOLQJ3ODLQWLIIVWRDQ

DZDUGRFRPSHQVDWRU\DQGSXQLWLYHGDPDJHV

            3ODLQWLIIVDUHVHHNLQJERWKVXUYLYDODQGZURQJIXOGHDWKGDPDJHVXQGHUWKLVFODLP

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           'HIHQGDQW&2//,16ZKLOHZRUNLQJDVDSDWUROPDQIRUWKH1&6+3DQGZKLOH

ZRUNLQJZLWKLQWKHFRXUVHDQGVFRSHRIKLVGXWLHVLQWHQWLRQDOO\VKRW'(&('(17PXOWLSOH

WLPHVLQFOXGLQJVKRWVWRKLVOHJDQGFKHVWDIWHUWKH'(&('(17KDGDOUHDG\GULYHQSDVWWKH

'HIHQGDQW)XUWKHUPRUH'(&('(17ZDVQRWVXVSHFWHGRIFRPPLWWLQJDQ\VHULRXVFULPH

'HIHQGDQW&2//,16GLGQRWSRVVHVVLQIRUPDWLRQWKDW'(&('(17KDGFRPPLWWHGDQ\FULPH

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SK\VLFDOO\KDUPHGRULQMXUHGDQ\RQH7KHXVHRIGHDGO\IRUFHZDVDOVRXQUHDVRQDEOHEHFDXVH

WKHUHZHUHFOHDUO\OHVVOHWKDORSWLRQVDYDLODEOH

           'HIHQGDQW&ROOLQVVKRW'(&('(17ZLWKDFWXDOPDOLFH

           $VDSUR[LPDWHUHVXOWRI'HIHQGDQW&2//,16¶ZURQJIXOFRQGXFW'(&('(17

VXIIHUHGVHYHUHPHQWDODQGSK\VLFDOSDLQDQGVXIIHULQJORVVRIHQMR\PHQWRIOLIHORVVRIHDUQLQJ

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           $VDGLUHFWDQGSUR[LPDWHUHVXOWRI'HIHQGDQW&2//,16¶FRQGXFWDVDOOHJHG

KHUHLQDERYH3ODLQWLIIVVXIIHUHGH[WUHPHDQGVHYHUHPHQWDODQJXLVKDQGSDLQDQGKDYHEHHQ

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          Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 19 of 28
FRPSDQLRQVKLSFRPIRUWVXSSRUWVRFLHW\FDUHDQGVXVWHQDQFHRI'(&('(17DQGZLOO

FRQWLQXHWREHVRGHSULYHGIRUWKHUHPDLQGHURIWKHLUQDWXUDOOLYHV3ODLQWLIIVDUHDOVRFODLPLQJ

IXQHUDODQGEXULDOH[SHQVHVDQGDORVVRIILQDQFLDOVXSSRUW

           'HIHQGDQW&2//,16¶DFWLRQVZHUHGRQHPDOLFLRXVO\ZLOOIXOO\RUZDQWRQO\RULQ

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           3ODLQWLIIVEULQJWKLVFODLPERWKLQGLYLGXDOO\DQGDVVXFFHVVRUVLQLQWHUHVWWR

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        H      )LULQJPXOWLSOHJXQVKRWVWKURXJKWKHWLQWHGGULYHU¶VVLGHZLQGRZRI
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            Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 20 of 28
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                LQWKHLPPHGLDWHSUR[LPLW\RI'(&('(17¶VWUXFNDVKHZDVDWWHPSWLQJWRH[LW
                WKH0LQL0DUW¶VSDUNLQJORW

            $VDGLUHFWDQGSUR[LPDWHUHVXOWRI'HIHQGDQW&2//,16¶FRQGXFWDVDOOHJHG

KHUHLQDERYHDQGRWKHUXQGLVFORVHGQHJOLJHQWFRQGXFW'(&('(17HQGXUHGJUHDWSDLQDQG

VXIIHULQJIURPKLVJXQVKRWZRXQGVORVWHDUQLQJFDSDFLW\DQGXOWLPDWHO\GLHGIURPKLVLQMXULHV

$OVRDVGLUHFWDQGSUR[LPDWHUHVXOWRI'HIHQGDQW¶VFRQGXFWDVDOOHJHGKHUHLQDERYH3ODLQWLIIV

VXIIHUHGH[WUHPHDQGVHYHUHPHQWDODQJXLVKDQGSDLQDQGKDYHEHHQLQMXUHGLQPLQGDQGERG\

3ODLQWLIIVKDYHDOVREHHQGHSULYHGRIWKHOLIHORQJORYHFRPSDQLRQVKLSFRPIRUWVXSSRUW

VRFLHW\FDUHDQGVXVWHQDQFHRI'(&('(17DQGZLOOFRQWLQXHWREHVRGHSULYHGIRUWKH

UHPDLQGHURIWKHLUQDWXUDOOLYHV3ODLQWLIIVDUHDOVRFODLPLQJIXQHUDODQGEXULDOH[SHQVHVDQGD

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QRWVHULRXVO\LQMXUHGDQRWKHUDQGWULHGWRVXUUHQGHUEHIRUHGULYLQJSDVWWKH'HIHQGDQWZKHQKH

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EHIRUHVWRSSLQJWKH'(&('(17¶VYHKLFOHQRUGLGWKH'HIHQGDQWKDYHSUREDEOHFDXVHWRDWWHPSW

WKHDUUHVWRIWKH'(&('(17'HIHQGDQW&2//,16¶DFWLRQVWKXVGHSULYHGWKH'(&('(17RI

KLVULJKWWREHIUHHIURPXQUHDVRQDEOHVHDUFKHVDQGVHL]XUHVXQGHUWKH)RXUWK$PHQGPHQWDQGDV

DSSOLHGWRVWDWHDFWRUVE\WKH)RXUWHHQWK$PHQGPHQW

              'HIHQGDQW&2//,16LQWHQWLRQDOO\YLRODWHG'(&('(17¶VULJKWVXQGHUE\

GHWDLQLQJWKH'(&('(17ZLWKRXWUHDVRQDEOHVXVSLFLRQE\DWWHPSWLQJWRDUUHVW'(&('(17

ZLWKRXWSUREDEOHFDXVHDQGE\XVLQJH[FHVVLYHGHDGO\IRUFHDJDLQVW'(&('(17LQFOXGLQJEXW

QRWOLPLWHGWRILULQJVHYHUDOJXQVKRWVLQWRWKHRFFXSLHGSDVVHQJHUFRPSDUWPHQWRIWKHXQDUPHG

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WKHVHDFWVGHPRQVWUDWHGWKH'HIHQGDQW¶VUHFNOHVVGLVUHJDUGIRUWKH'(&('(17¶VFRQVWLWXWLRQDO

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FRXOGQRWFLWHDFKDUJHDJDLQVW0U:HEVWHUWKDWLQYROYHGDVVDXOWLYHFRQGXFW7KHRQO\FULPHWKH

$WWRUQH\*HQHUDO VRIILFHQDPHGDVDSRWHQWLDOFKDUJHDJDLQVWWKH'(&('(17ZDV)OHHLQJWR

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LQMXU\QRUWKUHDWHQHGRUPDGHDQ\DWWHPSWWRLQMXUHWKH'HIHQGDQWRUDQ\RQHHOVHSULRUWREHLQJ

VKRW7KHUHLVGLUHFWDQGFLUFXPVWDQWLDOHYLGHQFHRI'HIHQGDQW&2//,16¶UDFLDODQLPXVWRZDUGV

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             Case 7:20-cv-00248-FL Document 1 Filed 12/15/20 Page 22 of 28
EODFNSHRSOH'HIHQGDQW&2//,16LQWHQWLRQDOO\YLRODWHG'(&('(17¶VULJKWVXQGHUE\

XQODZIXOO\GHWDLQLQJKLPE\DWWHPSWLQJWRDUUHVWKLPDQGE\IDWDOO\VKRRWLQJWKH'(&('(17

PXOWLSOHWLPHVLQFOXGLQJVKRWVWRKLVOHIWVLGHDQGVKRXOGHUDIWHUKHKDGDOUHDG\GULYHQSDVWWKH

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ZLWKLQWKHFRXUVHDQGVFRSHRIKLVGXWLHVLQWHUIHUHGZLWKRUDWWHPSWHGWRLQWHUIHUHZLWKWKHULJKWV

RI'(&('(17WREHIUHHIURPXQUHDVRQDEOHVHDUFKHVDQGVHL]XUHVWRHTXDOSURWHFWLRQRIWKH

ODZVWRDFFHVVWRWKHFRXUWVDQGWREHIUHHIURPVWDWHDFWLRQVWKDWVKRFNWKHFRQVFLHQFHE\

WKUHDWHQLQJRUFRPPLWWLQJDFWVLQYROYLQJYLROHQFHWKUHDWVRIYLROHQFHFRHUFLRQRULQWLPLGDWLRQ

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ORVVRIHQMR\PHQWRIOLIHDQGHYHQWXDOO\VXIIHUHGDORVVRIOLIHDQGRIHDUQLQJFDSDFLW\7KH

3ODLQWLIIVKDYHDOVREHHQGHSULYHGRIWKHORYHFRPSDQLRQVKLSFRPIRUWVXSSRUWVRFLHW\FDUH

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QDWXUDOOLYHV7KH3ODLQWLIIVDUHDOVRFODLPLQJIXQHUDODQGEXULDOH[SHQVHVDQGDORVVRIILQDQFLDO

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HYHQWXDOO\NLOOLQJKLP'HIHQGDQW¶VQHJOLJHQWFRQGXFWLQFOXGHVSUHVKRRWLQJQHJOLJHQWFRQGXFW

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GHDWKZKLOHKHODLGLQKHUDUPV72:$1'$5(('VXIIHUHGVHULRXVHPRWLRQDOGLVWUHVV

LQFOXGLQJEXWQRWOLPLWHGWRVXIIHULQJVHYHUHDQJXLVKIULJKWQHUYRXVQHVVVOHHSOHVVQHVVJULHI

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            2QLQIRUPDWLRQDQGEHOLHIDQ\RUGLQDU\UHDVRQDEOHSHUVRQZRXOGVXIIHUIURPSRVW

WUDXPDWLFVWUHVVGLVRUGHUIURPVHHLQJWKHLUVRQIDWDOO\VKRWPXOWLSOHWLPHVEOHHGLQJSURIXVHO\

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DJUHHGWRHQJDJHLQDFRQVSLUDF\WRFRYHUXSWKHLUPLVFRQGXFW

           'HIHQGDQWVGHYHORSHGDQGDJUHHGWRWKHLUFRQVSLUDF\IRUWKHSXUSRVHRISURWHFWLQJ

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        I      (PRWLRQDOGDPDJHVFDXVHGE\WKHLQDELOLW\WRIHHOVHFXUHLQWKHLUSHUVRQSURSHUW\
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              )RUVXFKRWKHUIXUWKHUUHOLHIDVWKH&RXUWGHHPVMXVWSURSHUDQGDSSURSULDWH




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